     Fill in this information to identify the case:


     Debtor 1              RICHARD H. COBBS, JR.


     Debtor 2              LOUISE COBBS
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          15-21748CMB




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.

 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  LAND HOME FINANCIAL SERVICES INC                                                 5

 Last 4 digits of any number you use to identify the debtor's account                         0   0   6   9

 Property Address:                             937 BRINTELL ST
                                               PITTSBURGH PA 15201




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $    17,536.69

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $    17,536.69

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $    17,536.69


 Part 3:             Postpetition Mortgage Payment


 Check one

 ý Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $505.89
         The next postpetition payment is due on                10 / 1 / 2020
                                                                MM / DD / YYYY

 ¨ Mortgage is paid directly by the debtor(s).


Form 4100N                                                        Notice of Final Cure Payment                                         page 1
Debtor 1     RICHARD H. COBBS, JR.                                            Case number   (if known)   15-21748CMB
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)



 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date   10/13/2020


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




Form 4100N                                        Notice of Final Cure Payment                                             page 2
Debtor 1     RICHARD H. COBBS, JR.                                       Case number   (if known)   15-21748CMB
             Name




                                              Disbursement History

Date         Check #     Name                                  Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
08/26/2016   1011178     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          491.69
09/27/2016   1015112     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                           80.01
12/21/2016   1025397     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          192.58
01/27/2017   1028925     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                        1,056.86
02/24/2017   1032285     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          390.67
03/28/2017   1035740     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          390.67
04/21/2017   1038971     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          388.58
05/25/2017   1042273     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          386.49
06/27/2017   1045677     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                        1,052.68
07/25/2017   1048968     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          386.49
08/25/2017   1052320     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          400.45
09/26/2017   1055658     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          400.45
10/25/2017   1058994     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          389.27
11/21/2017   1062235     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          389.27
12/21/2017   1065586     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                        1,056.85
01/25/2018   1068846     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          649.27
02/23/2018   1072009     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          519.27
03/28/2018   1075216     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          519.27
05/25/2018   1081729     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          403.36
06/22/2018   1084844     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                          390.67
06/26/2018   1081729     TRIFERA LLC                           CANCELLED CHECK TO CREDITOR/PRINCIPLE                 -403.36
09/25/2018   1093568     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                        1,590.15
10/17/2018   1093568     LAND HOME FINANCIAL SERVICES INC      CANCELLED CHECK TO CREDITOR/PRINCIPLE               -1,590.15
10/17/2018   1094983     LAND HOME FINANCIAL SERVICES INC      PREWRITTEN CHECK TO CREDITOR/PRINCIPLE               1,590.15
10/29/2018   1096815     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                        1,181.97
11/27/2018   1099955     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          513.69
12/21/2018   1103067     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          513.69
01/25/2019   1106270     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          513.69
02/25/2019   1109521     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          513.69
03/25/2019   1112813     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          513.69
07/29/2019   1126342     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          437.82
08/27/2019   1129814     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          660.90
09/24/2019   1133126     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          744.17
10/24/2019   1136450     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          821.74
12/24/2019   1129814     LAND HOME FINANCIAL SERVICES INC      CANCELLED CHECK TO CREDITOR/PRINCIPLE                 -660.90
01/28/2020   1146760     LAND HOME FINANCIAL SERVICES INC      AMOUNTS DISBURSED TO CREDITOR                          660.90
                                                                                                                  17,536.69

MORTGAGE REGULAR PAYMENT (Part 3)
09/28/2015   0959432     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                       1,999.52
10/26/2015   0963310     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         530.60
11/24/2015   0967420     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         530.54
12/22/2015   0971527     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         530.47
01/26/2016   0975512     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         795.63
02/24/2016   0979522     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         543.37
03/28/2016   0983459     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         834.49
04/22/2016   0987784     BAYVIEW LOAN SERVICING LLC**          AMOUNTS DISBURSED TO CREDITOR                         557.48
05/24/2016   0994413     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         932.36
06/27/2016   1003189     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         732.32
09/27/2016   1015112     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         613.35
10/26/2016   1018811     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         395.75
11/21/2016   1022065     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         537.30
12/21/2016   1025397     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         584.62
01/27/2017   1028925     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
02/24/2017   1032285     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
03/28/2017   1035740     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
04/21/2017   1038971     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
05/25/2017   1042273     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
06/27/2017   1045677     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
07/25/2017   1048968     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
08/25/2017   1052320     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
09/26/2017   1055658     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89
10/25/2017   1058994     TRIFERA LLC                           AMOUNTS DISBURSED TO CREDITOR                         505.89

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Debtor 1     RICHARD H. COBBS, JR.                                      Case number   (if known)   15-21748CMB
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                       Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
11/21/2017   1062235     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               505.89
12/21/2017   1065586     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               505.89
01/25/2018   1068846     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               505.89
02/23/2018   1072009     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               505.89
03/28/2018   1075216     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               505.89
04/24/2018   1078448     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               339.71
05/25/2018   1081729     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               672.07
06/22/2018   1084844     TRIFERA LLC                          AMOUNTS DISBURSED TO CREDITOR               505.89
06/26/2018   1081729     TRIFERA LLC                          CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-672.07
09/25/2018   1093568     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR             2,189.74
10/17/2018   1093568     LAND HOME FINANCIAL SERVICES INC     CANCELLED CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                       -2,189.74
10/17/2018   1094983     LAND HOME FINANCIAL SERVICES INC     PREWRITTEN CHECK TO CREDITOR/CONTINUING DEBT
                                                                                                        2,189.74
10/29/2018   1096815     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
11/27/2018   1099955     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
12/21/2018   1103067     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
01/25/2019   1106270     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
02/25/2019   1109521     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
03/25/2019   1112813     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
04/26/2019   1116110     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               322.39
05/24/2019   1119509     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               452.28
06/25/2019   1122902     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               678.85
07/29/2019   1126342     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               570.04
08/27/2019   1129814     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
09/24/2019   1133126     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
10/24/2019   1136450     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
11/25/2019   1139917     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
12/23/2019   1143299     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
12/24/2019   1129814     LAND HOME FINANCIAL SERVICES INC     CANCELLED CHECK TO CREDITOR/CONTINUING DEBT-505.89
01/28/2020   1146760     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR             1,011.78
02/25/2020   1150281     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
03/23/2020   1153765     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
04/27/2020   1157224     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
05/26/2020   1160564     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR               505.89
08/25/2020   1169897     LAND HOME FINANCIAL SERVICES INC     AMOUNTS DISBURSED TO CREDITOR             1,517.67
                                                                                                      32,376.96




Form 4100N                                   Notice of Final Cure Payment                                         page 4
                                           CERTIFICATE OF SERVICE

I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

RICHARD H. COBBS, JR.
LOUISE COBBS
937 BRINTELL STREET
PITTSBURGH, PA 15201

MARY BOWER SHEATS ESQ
1195 WASHINGTON PIKE STE 325
BRIDGEVILLE, PA 15017

LAND HOME FINANCIAL SERVICES INC
PO BOX 25164
SANTA ANA, CA 92799-5164

WEINSTEIN & RILEY PS
2001 WESTERN AVE STE 400
SEATTLE, WA 98121

LISA CANCANON ESQ
WEINSTEIN & RILEY PS
11101 WEST 120TH AVE #280
BROOMFIELD, CO 80021




10/13/20                                                       /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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